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             EXHIBIT 19
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Charles R. Booth                                            October 29, 2007
                                Washington, DC

                                                                          Page 265
                  UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS

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   IN RE:    PHARMACEUTICAL        ) MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE      ) CIVIL ACTION

   PRICE LITIGATION                ) 01-CV-12257-PBS

   THIS DOCUMENT RELATES TO        )

   U.S. ex rel. Ven-a-Care of      ) Judge Patti B. Saris

   the Florida Keys, Inc.          )

        v.                         ) Chief Magistrate

   Abbott Laboratories, Inc.,      ) Judge Marianne B.

   No. 06-CV-11337-PBS             ) Bowler

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            (captions continue on following pages)



        Videotaped deposition of CHARLES R. BOOTH

                          Volume II




                                Washington, D.C.

                                Monday, October 29, 2007

                                10:00 a.m.




                         Henderson Legal Services
                               202-220-4158

                                                                432ce50a-616b-406d-b9bd-d3b4c631b461
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Charles R. Booth                                                                  October 29, 2007
                                          Washington, DC
                                             Page 310                                                   Page 312
 1      A. And we were the ones who would be setting 1             A. No.
 2   the initial changes in price were they to be made.    2          MR. COOK: Let me hand you what I'll ask
 3      Q. To your knowledge did anybody else within 3         the court reporter to mark as Exhibit Abbott 361.
 4   the Office of Payment Policy have any expectation     4                     (Exhibit Abbott 361 was
 5   between what acquisition costs should be and what     5                     marked for
 6   AWPs should be?                                       6                     identification.)
 7           MR. GOBENA: Objection, form.                  7          BY MR. COOK:
 8      A. I have no idea.                                 8       Q. While you're taking a look at this
 9      Q. And so certainly nobody expressed to you        9   one-page document, Mr. Booth, for the record I'll
10   an expectation that there would be some relationship 10   note that this is a February 25, 1994 memorandum.
11   between acquisition cost and AWP?                    11   It appears to be to you from Stuart Streimer. Do
12           MR. GOBENA: Objection, form.                 12   you recall this memorandum, Mr. Booth?
13      A. I certainly don't remember any.                13       A. No, sir.
14      Q. Did that change over time?                     14       Q. Who is Stuart Streimer?
15      A. No.                                            15       A. Well, at the time the note was written
16      Q. And that would mean that your                  16   Stuart Streimer was the director of one of the
17   expectations -- your lack of expectations didn't     17   offices in the Bureau of Program Operations,
18   change over time, correct?                           18   specifically the one that wrote operating procedures
19      A. I had no idea what the relationship would      19   for the Medicare program.
20   be between the cost to a physician or a pharmacist 20         Q. If you see in the first paragraph it
21   of a particular drug and AWP.                        21   appears that Mr. Streimer is thanking you for the
22      Q. Were you involved at all in the attempt        22   opportunity to review and comment on draft
                                             Page 311                                                   Page 313
 1   to use surveys to establish an estimated acquisition  1   instructions for pricing drugs. Do you recall
 2   cost after the promulgation of the regulations in     2   Mr. Streimer being involved at all in the attempt to
 3   November of 1991?                                     3   establish surveys to establish estimated acquisition
 4      A. Yes.                                            4   costs?
 5      Q. What was your involvement?                      5       A. No. I don't recall.
 6      A. We reviewed some of the drugs that we           6       Q. In the next paragraph Mr. Streimer
 7   thought would be appropriate for surveys. And I       7   appears to express a concern that the data is being
 8   reviewed a proposed survey instrument.                8   extracted exclusively from physicians and states
 9      Q. We'll look at some documents relating to        9   that the small select sample "may not adequately
10   this. But to fast forward a little bit, the surveys  10   reflect the global picture of drug acquisitions
11   were never implemented as I recall, correct?         11   costs."
12      A. That is correct.                               12           Did you recall those concerns being
13      Q. Why were they never implemented?               13   involved in setting up the surveys for estimated
14      A. Because we did not get approval from the       14   acquisition cost?
15   Office of Management and Budget to conduct them. 15           A. I don't recall.
16      Q. Do you know why the Office of Management 16             Q. Do you know whether those concerns were
17   and Budget did not approve the surveys?              17   addressed at all in establishing the surveys?
18          MR. GOBENA: Objection, form.                  18       A. Well, you know, we never really finished
19      A. I do not.                                      19   the survey instrument. So no, I don't recall.
20      Q. Do you know who at the Office of               20       Q. And then in the next paragraph would you
21   Management and Budget considered or participated in 21    agree with me that this discusses, at a high level
22   any considerations relating to these surveys?        22   of generality, how physicians purchased their drugs,
                                                                                13 (Pages 310 to 313)
                                Henderson Legal Services
                                      202-220-4158

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